848 F.2d 185Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Buddy Earl JUSTUS, Plaintiff-Appellant,v.Charles THOMPSON, Warden;  Fred Greene, Asst. Warden;Willie Thorne, Major;  Lt. L. Hawkins, Operations Officer;Sgt. West, U.M.T. Officer;  C/O C. Marshall;  C/O M. Smith;C/O Queen;  and John Doe(s), Defendants-Appellees.
    No. 88-6016.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 28, 1988.Decided:  May 26, 1988.
    
      Buddy Earl Justus, appellant pro se.
      Before K.K. HALL and JAMES DICKSON PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Buddy Earl Justus appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      2
      DISMISSED.
    
    